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Lege) Notice

Court Authorized Notice
Deepwater Horizon Oil Spill Lawsuit

To Protect Your Right to Recover Money and
Other Damages Against Transocean,

You Must Act by April 20, 2011.

A New Orleans federal court is overseeing litigation against
companies involved in the oil spill, A trial will be held in February
2012, The trial will decide whether Transocean, the owner of the
Deepwater Horizon rig, can limit what it pays claimants under
certain Maritime law. To preserve your ability to recover money
and other damages against Transocean and include your claim in
this trial you must take action by April 20, 2011.

If you had a personal injury, loss of earnings, property damage,
business loss, or other economic Joss from the oil spill you can
participate,

File a Simple Form to Preserve Your Rights

The Court has simplified the process to file your claim against
Transocean, You need to file a claim form by April 20,2011. You
can get the claim form by calling 1-877-497-5926 or visiting the
websites listed below. Filing this claim form will also join you
in the master lawsuit that has been filed against BP and the other
defendants. IF you do not want to join this master lawsuit you still
need to Ale an answer and claim by April 20, 2012 in order to
preserve your right to recover agains! Transocean.

There is No Filing Fee
There is no filing fee and a lawyer is not required to file the claim
form. For help filing the claim form, you can call 1-877-497-5926
or visit www,OHSpillCourtCase.com. However, if you would like
advice regarding your legal rights or about filing this claim form,
you must contact a lawyer.

You Can Continuc to File Claims with BP’s
Gulf Coast Claims Facility (“GCCF”)
The federal lawsuit is separate from the claims process in BP's
GCCF, You can participate in the federal lawsuit even if you
already filed a claim with BP's GCCF, Filing the claim form will
not prevent you from recovering money through BP’s GCCF.

There may be other requirements you have to fulfill to proceed
with a lawsuit against BP and the other defendants, You may,
for example, have to fulfill presentment requirements of the Oi
Pollution Act. If you are not sure what this means, you should
consult with a lawyer,

Get More Information:
1-877-497-5926  www.0ilSpillCourtCase.com
www. laed.uscourts.gov/OllSplll/Forms/Forms.htm

